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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  PATRICIA A. MAGRUDER, on Behalf of
                                §
  Herself and All Others Similarly Situated,
                                §
                                §
       Plaintiff,               §
                                §
  v.                            §                         Civil Action No. 3:05-cv-01156-M
                                §
  HALLIBURTON COMPANY and DAVID §
  J. LESAR,                     §
                                §
       Defendants.              §

                                             ORDER

       Before the Court is Defendants’ Motion to Dismiss Plaintiff’s Third Amended Complaint

(“TAC”) [ECF No. 96]. For the reasons stated below, the Motion is GRANTED.

  I.   Factual and Procedural Background

       Plaintiff Patricia A. Magruder brings this action against Halliburton Company and its

former CEO, David Lesar, alleging violations of Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934. [ECF No. 94 ¶¶ 1, 177–90]. Halliburton is a public corporation that

provides “products and services to the petroleum and energy industries.” [Id. ¶ 3]. Plaintiff

maintains that Defendants (1) omitted material information in public statements regarding cost

overruns of the “Barracuda-Caratinga” project, (2) omitted material information in public

statements regarding asbestos liabilities, insurance coverage, and the liquidity of a subsidiary, (3)

violated an SEC order, and (4) “disclosed a bribe made in Nigeria” in a Form 10Q filing as a

result of which class members were damaged. Plaintiff seeks to bring this action on behalf of

public investors who purchased or otherwise acquired Halliburton common stock on the open

market between December 8, 2001 and July 22, 2002. [Id. ¶ 1].
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       This case was originally severed from a separate class action lawsuit against Halliburton

and its officers.1 See Erica P. John Fund, Inc. v. Halliburton Co., No. 3:02-cv-1152, slip op. at

*1 (N.D. Tex. June 3, 2005). Plaintiff’s Amended Complaint was previously dismissed with

leave to amend. [ECF No. 40 at 1]. Plaintiff was warned “that should [she] file a Second

Amended Complaint suffering from the same deficiencies,” she would not be granted leave to

“correct the same infirmities” identified by the Court. [Id. at 45]. Plaintiff, thereafter, filed the

Second Amended Complaint [ECF No. 53], and Defendants again moved to dismiss. [ECF No.

67]. The Court granted Defendants’ motion to dismiss but again granted Plaintiff “leave to

address the defects identified in [the Court’s] Order by filing an amended complaint.” [ECF No.

93 at 22]. Plaintiff then filed her TAC and Defendants now move to dismiss this latest

complaint. [ECF Nos. 94, 96].

 II.   Legal Standard

       A pleading must contain “a short and plain statement of the claim showing that the

pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). The pleading standard that Rule 8

announces does not require “detailed factual allegations,” but it does demand more than an

unadorned accusation devoid of factual support. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). To survive a motion to dismiss,

a complaint must contain sufficient factual matter to state a claim for relief that is plausible on its

face. Twombly, 550 U.S. at 570. A court must accept all factual allegations as true, but it is not

bound to accept as true “a legal conclusion couched as a factual allegation.” Id. at 555. Where

the facts do not permit a court to infer more than the mere possibility of misconduct, the



1 This action has remained pending for an extremely long period as it was stayed by agreement

several times during appeals in the Erica P. John Fund action, including during several appeals
to the United States Supreme Court.
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complaint has stopped short of showing that the pleader is plausibly entitled to relief. Iqbal, 556

U.S. at 678.

       To state a claim under Section 10(b), a plaintiff must plead: (1) a material

misrepresentation or omission, (2) scienter, (3) a connection with the purchase or sale of a

security, (4) reliance, (5) economic loss, and (6) loss causation. See Dura Pharm., Inc. v.

Broudo, 544 U.S. 336, 341 (2005) (citing 15 U.S.C. 78j(b)). In addition, a plaintiff must meet

the heightened pleading requirements under Federal Rule of Civil Procedure 9(b) and the Private

Securities Litigation Reform Act (“PSLRA”), 15 U.S.C. § 78u-4(b)(2).

       To plead a material misrepresentation adequately under the PSLRA, a plaintiff must (1)

specify each statement alleged to have been misleading, (2) identify the speaker, (3) state when

and where the statement was made, (4) plead with particularity the contents of the

misrepresentations, (5) plead with particularity what the person making the misrepresentation

obtained thereby, and (6) explain the reason or reasons why the statement is misleading. See

Goldstein v. MCI WorldCom, 340 F.3d 238, 245 (5th Cir. 2003).

       To plead a material omission adequately, a plaintiff must “plead the type of facts omitted,

the place in which the omissions should have appeared, and the way in which the omitted facts

made the representations misleading.” U.S. ex rel. Riley v. St. Luke’s Episcopal Hosp., 355 F.3d

370, 381 (5th Cir. 2004). A plaintiff must “specify the statement that is misleading due to the

omission in the same manner as a misrepresentation, i.e., the who, what, when, and where.” In

re Odyssey Healthcare, Inc. Sec. Litig., 424 F. Supp. 2d 880, 893 (N.D. Tex. 2005). If the

misleading nature of the statement is not apparent from the content of the statement and the

substance of the omissions, the factual allegations of the complaint must set forth an explanation

of why the omission rendered the statement misleading. Id. at 894; see also Indiana Elec.



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Workers’ Pension Tr. Fund IBEW v. Shaw Grp., Inc., 537 F.3d 527, 541 (5th Cir. 2008) (“[I]n

other words [the omission] must affirmatively create an impression of a state of affairs that

differs in a material way from the one that actually exists.”). Finally, a plaintiff must plead with

particularity the facts giving rise to a duty2 to disclose the material information. Shaw Grp., Inc.,

537 F.3d at 541.

       To plead scienter adequately, the PSLRA instructs a plaintiff to “state with particularity

facts giving rise to a strong inference” that each defendant acted with “intent to deceive,

manipulate, or defraud or [with] severe recklessness.” Id.; Owens v. Jastrow, 789 F.3d 529, 535

(5th Cir. 2015) (citation omitted). Severe recklessness is limited to those “highly unreasonable

. . . misrepresentations that involve not merely simple or even inexcusable negligence, but an

extreme departure from the standard of ordinary care.” Jastrow, 789 F.3d at 535 (citation

omitted). Scienter must exist at the time the alleged misrepresentation occurred. Budde v.

Global Power Equip. Grp., Inc., No. 3:15-cv-01679-M, 2017 WL 6621540, at *2 (N.D. Tex.

Dec. 27, 2017).

       To qualify as “strong,” the inference of scienter must be “more than merely plausible or

reasonable—it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.” See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314

(2007). This requires a court to “engage in a comparative evaluation,” weighing “not only

inferences urged by [the plaintiff] . . . but also competing inferences rationally drawn from the

facts alleged.” Id. Conclusory allegations are not sufficient. See Shaw Grp., 537 F.3d at 538–39




2 “An affirmative duty to disclose arises when (1) a corporate insider trades on confidential

information; (2) a corporation has made inaccurate, incomplete or misleading prior disclosures;
or (3) a statute or regulation requires disclosure.” See Magruder v. Halliburton Co., No. 3:05-cv-
01156-M, 2009 WL 854656, at *4 (N.D. Tex. Mar. 31, 2009).
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(holding that “general allegations and conclusory statements, such as stating [that a defendant]

knew . . . adverse material” cannot support a strong inference of scienter). A court must “assess

all the allegations holistically,” not each in isolation. Tellabs, 551 U.S. at 326.

       To plead loss causation adequately, a plaintiff must first identify a corrective disclosure

that reveals the falsity of the prior misrepresentation. Budde, 2017 WL 6621540, at *5. Under

Budde, the plaintiff must then allege that the stock price declined after this disclosure, and the

corrective disclosure must reveal the fraud or the falsity of the prior representation. Id.

Although the disclosure need not be a direct admission that the prior misrepresentation was false,

the disclosure must at least be “relevant to” the prior misrepresentation, i.e., the disclosure “must

make the existence of the actionable fraud more probable than it would be without” the

disclosure. Lormand v. US Unwired, Inc., 565 F.3d 228, 256 n.20 (5th Cir. 2009); see also

Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221, 230 (5th Cir. 2009) (“[A]

disclosure need not precisely mirror an earlier misrepresentation.”).

III.   Analysis

       After review of the TAC, the Court finds that Plaintiff again fails to sufficiently plead a

securities fraud claim against Defendants. In her six page response, Plaintiff cites only one case

not relevant to the pleading issues presented here. After this many opportunities for Plaintiff to

replead, Plaintiff must have pled her best case, so the Court declines to permit Plaintiff further

leave to amend her pleadings and the TAC will, therefore, be dismissed with prejudice. Jacquez

v. Procunier, 801 F.2d 789, 792–93 (5th Cir. 1986) (“At some point a court must decide that a

plaintiff has had fair opportunity to make his case; if, after that time, a cause of action has not

been established, the court should finally dismiss the suit.”); Morrison v. City of Baton Rouge,




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761 F.2d 242, 246 (5th Cir. 1985) (“We can assume, therefore, that the specific allegations of the

amended complaint constitute the plaintiffs’ best case . . . .”).

           a. Claim One: Omission of Cost Overruns on “Barracuda-Caratinga” Project

       Plaintiff alleges that, in 2000, a Haliburton subsidiary entered into a fixed-price contract

to develop the Barracuda and Caratinga oil fields, located off the coast of Brazil. [ECF No. 94 ¶

53]. Plaintiff alleges that Halliburton experienced significant cost overruns on the project, and

that Lesar and others at Halliburton knew of these overruns but did not properly report them.

[Id. ¶¶54–64]. Plaintiff contends that the project had cost overruns of $43 million by December

31, 2001, and that Halliburton did not disclose the overruns until a July 22, 2002 press release

announced a $119 million loss on the project. [Id. ¶¶ 58, 65–66].

       Plaintiff has twice previously sought to plead a claim against Defendants arising from

these facts. [ECF No. 13 ¶¶ 124–34; ECF No. 53 at ¶ 317]. Each time, the Court has dismissed

Plaintiff’s claim, finding that Plaintiff failed to allege adequately an actionable omission,

scienter, or loss causation. [ECF No. 40 at 43–44; ECF No. 93 at 19–22]. The Court finds that

Plaintiff’s latest attempt suffers from these same deficiencies and that Plaintiff’s claim must,

therefore, be dismissed.

       First, the TAC again fails to allege an actionable omission. As explained in the Court’s

prior Orders, it is not enough for Plaintiff to merely allege that Defendants omitted information

from Halliburton’s public filings. [ECF No. 40 at 43–44; ECF No. 93 at 11]. “[Section] 10(b)

and Rule 10b-5(b) do not create an affirmative duty to disclose any and all material information.”

Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011). “Disclosure is required under

these provisions only when necessary ‘to make . . . statements made, in the light of the

circumstances under which they were made, not misleading.’” Id. (quoting 17 CFR §240.10b-



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5(b)); see also McDonald v. Kinder-Morgan, Inc., 287 F.3d 992, 998 (10th Cir. 2002) (“[A] duty

to disclose arises only where both the statement made is material, and the omitted fact is material

to the statement in that it alters the meaning of the statement.”). Because of this, Plaintiff must

“specify the statement that is misleading due to the omission in the same manner as a

misrepresentation, i.e., the who, what, when, and where.” Odyssey Healthcare, 424 F. Supp. 2d

at 893.

          The TAC fails to identify specifically any statement of Defendants rendered misleading

by the alleged omission of the cost overruns. Further, there are no allegations in the TAC

explaining how the omission rendered any statement misleading or alleging where the omission

should have been disclosed. Plaintiff merely alleges that the overruns “were material” and “were

omitted in the Halliburton Annual Report for 2001, the SEC Form 10[K] filed in March, 2002

and the Halliburton Quarterly Report for the 1st Quarter, 2002, [and] the SEC Form 10Q filed in

May, 2002.” [ECF No. 94 ¶ 64]. Such allegations fail to plead with adequate particularity an

actionable omission.

          Second, the TAC fails to allege adequately a strong inference of scienter with regard to

the omission of the cost overruns. Plaintiff must “state with particularity facts giving rise to a

strong inference” that each defendant acted with “intent to deceive, manipulate, or defraud or

[with] severe recklessness.” Shaw Grp., Inc., 537 F.3d at 541. Instead, the TAC offers only

conclusory statements alleging that Halliburton or Lesar “knowingly” failed to disclose the cost

overruns and estimates of future losses, “knew” that the losses could not be recouped, “knew”

that the losses would continue, and “knew, should have known, or recklessly disregarded” the

overruns. [ECF No. 94 ¶¶ 50, 56, 68, 70, 72]. These conclusory allegations are insufficient to

plead scienter. See Shaw Grp., 537 F.3d at 538–39 (holding that “general allegations and



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conclusory statements, such as stating [that a defendant] knew . . . adverse material” cannot

support a strong inference of scienter). Plaintiff’s omission claim regarding the Barracuda-

Caratinga project is not adequately pled for this additional reason.

       Third, the TAC also fails to allege loss causation adequately. To plead loss causation,

Plaintiff must identify a corrective disclosure which reveals the prior fraud and is accompanied

by a corresponding decline in the stock price. Budde, 2017 WL 6621540, at *5. The TAC

suggests that information regarding the cost overruns was disclosed on May 28, 2002, in a

Halliburton press release announcing “that the SEC had commenced an investigation on [the]

cost overruns.” [ECF No. 94 ¶ 60]. The TAC further alleges that the omission was “partially

disclosed” on July 22, 2002, when Halliburton issued a press release announcing that it would

record a $119 million loss on the project. [Id. ¶ 65]. Defendants argue that these disclosures are

insufficient, in and of themselves, to “reveal the fraud or falsity” because the SEC investigation

was unrelated to the cost overruns and because the $119 million loss was a loss sustained in the

period in which it was reported and, thus, not a prior loss omitted by Defendants. [ECF No. 96

at 12–13].

       Even assuming that Plaintiff adequately pled a corrective disclosure, however, the TAC

fails to plead sufficiently that there was a corresponding decline in share price, as necessary to

support loss causation. With regard to a share price decline, the TAC alleges only that

“Halliburton’s share price, from the announcement of the SEC’s investigation [May 28, 2002] to

the end of the class period [July 22, 2002], dropped from $19.10 to $9.05.” [ECF No. 94 ¶ 67].

This allegation does not sufficiently allege a share price decline resulting from the alleged

disclosures. See Erica P. John Fund, 309 F.R.D. 251, 268–69 (N.D. Tex. 2015) (finding, at class

certification stage, that a share price decline more than one day after the alleged corrective



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disclosure “is inappropriate to measure price impact in an efficient market”). Further, Plaintiff

fails to plead any facts which relate this decline in share price to either of the alleged corrective

disclosures. Thus, the TAC does not adequately plead loss causation.

        Because the TAC does not adequately allege an actionable omission, scienter, or loss

causation with regard to the alleged omission of cost overruns on the Barracuda-Caratinga

project, this claim must be dismissed.

            b. Claim Two: Omissions of Asbestos Liabilities

        Next, Plaintiff alleges that Defendants omitted disclosure of information regarding

asbestos liabilities. [ECF No. 94 ¶¶ 75–139]. Plaintiff alleges that several statements made by

Defendants failed to disclose (1) that Dresser, a Halliburton subsidiary, was bankrupt, (2) the

size of, and cost to settle, future asbestos claims, and (3) information about insurance coverage

for asbestos claims. [Id.]. Plaintiff has previously attempted to state a claim against Defendants

based on these facts, and the Court has dismissed each of these prior attempts. [ECF No. 40 at

40–42; ECF No. 93 at 12–19]. The Court finds that the TAC again fails to state a claim

regarding the asbestos liabilities.

                    i. No Actionable Omission: Dresser’s Bankruptcy

        First, the TAC still fails to allege an actionable omission. Plaintiff’s first omission

allegation is that Defendants failed to disclose that Dresser “was in a bankrupt state” and that

“Halliburton was changing direction to pursue the bankruptcy option” for Dresser. [ECF No. 94

¶¶ 108, 114]. The TAC, however, fails to plead facts establishing that Dresser was, in fact,

bankrupt or that Halliburton was preparing Dresser for bankruptcy. Instead, the TAC merely

offers the vague assertions that Halliburton “retained a large law firm [to] prepar[e] a bankruptcy




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strategy” and hired an asbestos exposure expert to help “negotiate[e] and establish[] a Trust Fund

for the bankruptcy.” [Id. ¶¶ 98–99].

       The TAC does not allege any duty requiring Defendants to disclose the allegedly omitted

information, and it does not identify any public statement rendered materially misleading by its

omission. Instead, Plaintiff generally alludes to two public statements made by Lesar in

December 2001, where he stated that Halliburton had “plenty of liquidity” and that “liquidity

was strong.” [Id. ¶¶106–07]. Plaintiff further alludes to a January 4, 2002 press release, which

states that “[t]here is no basis to the spurious rumor that the company [i.e. Halliburton] has filed

for bankruptcy.” [Id. ¶ 113]. The Court has already held that “[s]tatements that Halliburton had

‘plenty of’ or ‘considerable’ liquidity are too general and vague” to be actionable. [ECF No. 93

at 6]. And, Plaintiff again “fails to explain how the press release, which discusses rumors

regarding Halliburton’s supposed bankruptcy, is even relevant” to Plaintiff’s claim regarding a

possible bankruptcy for Dresser. [Id. at 18].

       For the above reasons, the TAC alleges no actionable omission regarding Dresser’s

alleged “bankrupt state.”

                   ii. No Actionable Omission: Asbestos Trust

       Next, Plaintiff alleges that Defendants failed to disclose the size of an asbestos trust to be

established in Dresser’s potential bankruptcy and that “it was Halliburton that was going to have

to put up the money for the trust . . . because [Dresser] had no assets.” [Id. ¶ 127; see also id. ¶¶

119, 121, 122, 126]. The TAC, again, does not allege a duty to disclose the allegedly omitted

information or specifically identify any statement rendered materially misleading by the

omission. Instead, the TAC vaguely references two statements in Halliburton’s Form 10Q

published on May 12, 2002, and generally refers to Halliburton’s 2001 Form 10K, only by



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name.3 [Id. ¶¶ 119, 138]. However, the statements contained in the Form 10Q are general

statements qualified by modifiers like “may” and “believe.”4 Such statements are exactly the

type of vague and optimistic statements that are not actionable as a matter of law, see Basic v.

Levinson, 485 U.S. 224, 231 (1988), and Plaintiff makes no allegation that Defendants did not

hold the beliefs professed. Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension

Fund, 135 S.Ct. 1318, 1327, 1332 (2015). For all of these reasons, the TAC fails to allege an

actionable omission regarding the asbestos fund.

                  iii. No Actionable Omission: Insurance Coverage

       Finally, Plaintiff alleges that Defendants omitted to disclose, in a February 14, 2002 press

release, that its asbestos insurance policies “were in litigation and that those contract rights were

a[] significant asset for a [t]rust.” [ECF No. 94 ¶¶ 116–17]. Plaintiff does not allege that

Defendants had any duty to disclose the allegedly omitted information, and the TAC does not

identify any statement in the press release rendered materially misleading by the alleged

omission. Thus, the TAC also fails to allege sufficiently an actionable omission regarding the

asbestos insurance coverage.

                  iv. Scienter

       Plaintiff’s omissions allegations regarding the asbestos liabilities also fail because the

TAC does not sufficiently plead scienter. Plaintiff’s allegations of scienter regarding these



3 Plaintiff also references statements regarding the asbestos trust made outside of the class

period. [ECF No. 94 ¶¶ 130–136]. These statements are not actionable. Magruder, 2009 WL
854656, at *1 (“[O]nly statements or events within the class period are actionable.”) (emphasis
in original).
4 The two statements that Plaintiff identifies in the Form 10Q are (1) “Dresser Industries, Inc.

may make a contribution to a trust in order to achieve a confirmed plan,” and (2) “we believe
that the open asbestos claims currently pending against us will be resolved without a material
adverse effect on our financial position or the results of our operations.” [ECF No. 94 ¶ 119].
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omissions are that “Halliburton and Lesar knew” that Dresser was bankrupt, that bankruptcy

would require a large trust, and that Dresser had sustained worse asbestos verdicts in the past

than Halliburton. [Id. ¶¶ 82, 92, 100–02, 119, 122]. The Court has already warned Plaintiff that

statements merely attributing knowledge to “Halliburton” or “Defendants” represents

impermissible group pleading. [ECF No. 93 at 8 (“[U]nattributed statement[s] [are]

impermissible group pleading. The pleading must include additional allegations that tie a

specific individual to the statements.”)]. Further, the unsupported allegations in the TAC

regarding Defendants’ knowledge do not “state with particularity facts giving rise to a strong

inference” that each defendant acted with “intent to deceive, manipulate, or defraud or [with]

severe recklessness.” Shaw Grp., Inc., 537 F.3d at 541. Thus, the TAC fails to allege

sufficiently that Defendants acted with scienter with regard to the alleged asbestos omissions and

this claim also fails for that reason.

                    v. Loss Causation

        Finally, the asbestos omissions claim also fails to allege loss causation adequately. First,

the TAC does not specifically identify any corrective disclosure that revealed a previously

concealed truth as to the asbestos omissions claim. The only alleged corrective disclosures

contained in the TAC which relate to these alleged omissions are the June 4, 2002 and July 22,

2002 press releases. [ECF No. 94 ¶ 37]. The June 4, 2002 press release reported that a

bankruptcy stay would remain in place for a former Dresser subsidiary. [Id.]. The TAC,

however, again fails to “allege how announcing further extensions to the stay of asbestos-related

claims arising from the bankruptcy ‘reveals a previously concealed truth.’” [ECF No. 93 at 19

(citing Magruder, 2009 WL 854656, at *11)]. Further, the TAC fails to describe, with any

detail, a resulting decline in the price of Halliburton shares.



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         The July 22, 2002 press release announced that Halliburton’s outside expert had

“essentially completed” a study on potential future asbestos liabilities and determined that the

costs of these claims would be “substantial and impact both continuing and discontinued

operations.” [ECF No. 94 ¶ 128]. The TAC, however, does not explain what prior statements

this disclosure corrects or how it reveals a previously concealed truth. This is, as the Court has

already noted, necessary “given that different types of negative news were released th[is] same

day, and the market’s reaction could have been to [this] announcement . . . or to other market

forces.” [ECF No. 40 at 30–31]. The TAC fails to plead loss causation.

         For the reasons above, the TAC fails to plead an omissions claim regarding the asbestos

liabilities.

               c. Claim Three: Violation of SEC Order

         Next, Plaintiff seeks to advance a claim for “violation of the SEC’s Order of June 27,

2002.” [ECF No. 94 ¶¶ 140–46]. This claim alleges that “the SEC issued an order to

approximately 900 companies that the CEO and CFO . . . would have to verify the accuracy of

th[e company’s] 2001 10K and [2002] 1st and 2nd Quarter 10Q[s].” [Id. ¶ 140]. Plaintiff alleges

that Lesar “knowingly violated” this SEC Order by certifying the relevant Halliburton filings

which omitted information regarding the Barracuda-Caratinga cost overruns and the asbestos

liabilities. [Id. ¶¶ 142–45].

         This claim is not properly pled for several reasons. First, the Court has already found that

Plaintiff has failed to state an actionable omission claim regarding either the cost overruns on the

Barracuda-Caratinga project or the asbestos liabilities. Next, the alleged fraudulent statement—

Lesar’s certification in response to the SEC’s order—occurred after the class period and is

therefore not actionable. [See id. at PX 3 (showing that Lesar signed the certification on August



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12, 2002)]. Further, the TAC pleads no nonconclusory allegations of scienter or loss causation

with regard to this claim. And, finally, the TAC provides no explanation of why Plaintiff is

entitled to sue to enforce an SEC Order.

        For these reasons, Plaintiff’s claim regarding the SEC’s Order of June 27, 2002 also fails

to plead an actionable claim and must be dismissed.

           d. Claim Four: Improper Payments to Foreign Official

        Finally, Plaintiff attempts to plead a claim regarding disclosure of improper payments to

a Nigerian tax official. [ECF No. 94 ¶¶ 147–57]. The Court had already dismissed this claim

with prejudice, as barred by the statute of repose. [ECF No. 93 at 8–9]. Plaintiff attempts to

replead this claim and argues that it is not barred by alleging that “the SEC found books and

record violations in the class period,” presumably related to the bribery incident. [ECF No. 94 ¶

153]. Further, the claim does not allege that any statement was misleading, does not contain

even a conclusory allegation of scienter, and alleges loss causation merely by arguing that an

SEC disgorgement penalty—not a stock drop—“demonstrates damage to the class.” [Id. ¶ 156].

The Court has already found that this claim is barred, but, even if it were not, it is not properly

pled.

           e. Section 20(a)

        Under Section 20(a), “[e]very person who, directly or indirectly, controls any”

corporation that is found “liable under any provision of this chapter . . . shall also be liable

jointly and severally with” the corporation. 15 U.S.C. § 78t(a). Plaintiff must therefore establish

a primary violation under Section 10(b) before liability arises under Section 20(a) against an

individual defendant. See ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 348 n.57




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(5th Cir. 2002). Because Plaintiff does not state a claim for violations of Section 10(b), her

Section 20(a) claim must also be dismissed.

IV.    Conclusion

       For the reasons stated above, Defendants’ Motion is GRANTED. The Court finds that

each of Plaintiff’s claims against Defendants fail to state a claim and must be dismissed. The

Court has twice previously dismissed Plaintiff’s claims against Defendants with leave to replead.

[ECF No. 40, 93]. After dismissing Plaintiff’s claims this third time, the Court concludes that

Plaintiff has had sufficient opportunity to plead an actionable claim against Defendants. The

Court, therefore, DENIES Plaintiff’s request to file another amended complaint. IT IS

THEREFORE ORDERED that Plaintiff’s TAC is DISMISSED WITH PREJUDICE.

       SO ORDERED.

       March 12, 2019.

                                                     _________________________________
                                                     BARBARA M. G. LYNN
                                                     CHIEF JUDGE




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